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                                      Worldwide Android Smartphone Sales (Excluding China)

           250




           200




           150
Millions




           100




            50




             0




Note:
“Worldwide Android Smartphone Sales (Excluding China)” are computed using IDC data and include unit sales of Android smartphones sold directly to end users and
 through distribution channels worldwide, excluding China.

Source: Bernheim Production Materials (“IDC Quarterly Mobile Phone Tracker”).




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